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1    Thane D. Somerville WSBA #31468 pro hac vice
2    Thomas P. Schlosser WSBA #06276 pro hac vice
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     Attorneys for Plaintiff Hoopa Valley Tribe
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 7
 8                           UNITED STATES DISTRICT COURT
 8
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     HOOPA VALLEY TRIBE,                            )   Civ. No. 1:20-cv-1814-JLT-EPG
11
11                                                  )
12         Plaintiff,                               )
12                                                  )   PLAINTIFF HOOPA VALLEY
13         v.                                       )   TRIBE’S NOTICE OF MOTION
13                                                  )   AND MOTION FOR
14   UNITED STATES BUREAU OF                        )   PRELIMINARY INJUNCTION
14   RECLAMATION; DEBRA ANNE HAALAND,               )
15
     in her official capacity as Secretary of the   )   Date: January 20, 2023
15
16   Interior; MARIA CAMILLE CALIMLIM               )   Time: 9:00 AM
16   TOUTON, in her official capacity as            )   Courtroom: 4 – 7th Floor, Fresno
17   Commissioner of the United States Bureau of    )   Hon. Jennifer L. Thurston
17   Reclamation; ERNEST A. CONANT, in his          )
18   official capacity as United States Bureau of   )
18   Reclamation California-Great Basin Regional    )
19
     Director; and UNITED STATES                    )
19   DEPARTMENT OF THE INTERIOR                     )
20
                                                    )
20
21         Defendants.                              )
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27   PLAINTIFF’S NOTICE OF MOTION AND MOTION
     FOR PRELIMINARY INJUNCTION - 1
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1    TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD

2           PLEASE TAKE NOTICE that, on January 20, 2023, at 9:00 AM, in Courtroom 4 of the
33   above-entitled Court, located at 2500 Tulare Street, Fresno, California, the Plaintiff Hoopa
44   Valley Tribe (“Plaintiff” or “Hoopa”), pursuant to Rule 65 of the Federal Rules of Civil
55   Procedure, Local Rule 231, and all other applicable rules, will and hereby does apply and move
66   for a preliminary injunction enjoining the Defendants from implementing the Trinity River
 7
 7   Winter Flow Variability Project (WFV Project) in the absence of the concurrence of the Hoopa
 8
 8   Valley Tribe. Hoopa’s concurrence is mandated by Section 3406(b)(23) of the Central Valley
 9
 9   Project Improvement Act (CVPIA), Public Law 102-575 (1992).
10
10          Defendants were scheduled to implement the WFV Project as early as December 15,
11
11   2022. Plaintiff’s counsel advised Defendants’ counsel that Plaintiff intended to seek a temporary
12
12   restraining order to enjoin implementation. Following conferrals between Plaintiff’s and
13
13   Defendants’ representatives that occurred between December 12 and December 16, 2022,
14   Defendants have committed as follows: “[the Interior Department/Defendants] commit to give
14
15   [Hoopa] at least 5 business days notice before any decision is made with respect to the Trinity
15
16   River (sic) Council’s vote to recommend the winter flows, and at least 10 business days notice
16
17   before the implementation of any such decision.” Declaration of Thane Someville, Exh. 7.
17
18   While Defendant’s commitment to defer any implementation of the WFV Project for a minimum
18
19   of 15 business days (3 full weeks) after providing written notice to Plaintiff relieves Plaintiff of
19
20   the need to file for a TRO at this time, the specter of implementation of the WFV Project in
20
21   absence of Hoopa concurrence and corresponding irreparable harm remains. Thus, Plaintiff
21
22   seeks this preliminary injunction.1
22
23          This Motion for Preliminary Injunction is made on the grounds that Plaintiff has
23
24   demonstrated a strong likelihood of success on the merits of its claim that the Defendants have
24
25
25
26   1 Plaintiff reserves its right to seek a TRO in the event circumstances change that warrant more
     immediate relief.
26

27   PLAINTIFF’S NOTICE OF MOTION AND MOTION
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1    violated the statutory delegation of sovereignty contained in CVPIA § 3406(b)(23) by approving

2    the WFV Project, which will result in significant modifications of flows mandated by CVPIA §

33   3406(b)(23) and the 2000 Trinity River Record of Decision (ROD), without the required

44   concurrence of the Hoopa Valley Tribe. This claim regarding “Violation of Hoopa’s Delegated

55   Sovereignty in CVPIA” is raised in the Ninth Claim for Relief of Plaintiff’s First Amended and

66   Supplemental Complaint for Declaratory and Injunctive Relief, ECF #97, filed 10/31/22.

 7   Defendants’ approval of the WFV Project without Hoopa’s concurrence, as required by CVPIA
 7
 8   section 3406(b)(23) is “arbitrary, capricious, an abuse of discretion, or otherwise not in
 8
 9   accordance with law,” “in excess of statutory jurisdiction, authority, or limitations,” and/or
 9
10   “without observance of procedure required by law.” 5 U.S.C. § 706(2)(A), (C), (D).
10
11           Hoopa will suffer irreparable harm unless Defendants are restrained from implementing
11
12   the Trinity River WFV Project because once such water is released, it will be unavailable for use
12
13   to implement the flows that are mandated by CVPIA § 3406(b)(23) and the ROD. Declaration of
13
14   Michael Orcutt; Declaration of Joe Davis. Hoopa will also suffer irreparable harm to its
14
15   sovereignty as reflected in CVPIA section 3406(b)(23). The balance of hardships and the public
15
16   interest strongly favors injunctive relief.
16
17           Hoopa bases its Motion for Preliminary Injunction on this notice of motion and motion,
17
18   the accompanying memorandum in support of the Motion for Preliminary Injunction, and the
18
19   supporting declarations of Joe Davis, Michael Orcutt, and Thane Somerville, all of which are
19
20   filed and served herewith, its First Amended and Supplemental Complaint for Declaratory and
20
21   Injunctive Relief (Ninth Claim for Relief) (Dkt. #97, filed 10/31/22), all pleadings and papers on
21
22   file in this action, and such other matters as may be presented to the Court at the time of hearing.
22
23           Plaintiff’s counsel certifies that they have satisfied required meet and confer requirements
23
24   in advance of filing this motion. Declaration of Thane Somerville. Counsel for Plaintiff
24
25   notified Defendants’ counsel, via video conference call on December 12, 2022, of Hoopa’s intent
25
26   to file Motions for TRO and Preliminary Injunction. Id. Between December 13 and December
26

27   PLAINTIFF’S NOTICE OF MOTION AND MOTION
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1    15, Plaintiff’s and Defendants’ representatives and counsel exchanged correspondence regarding

2    the injunction motions. Declaration of Thane Somerville. On December 15, 2022, Defendants’

33   counsel sent an email committing that: “[the Interior Department/Defendants] commit to give

44   [Hoopa] at least 5 business days notice before any decision is made with respect to the Trinity

55   River (sic) Council’s vote to recommend the winter flows, and at least 10 business days notice

66   before the implementation of any such decision.” Declaration of Thane Somerville. Plaintiff’s

 7   and Defendants’ representatives and legal counsel conferred again on the morning of December
 7
 8   16, 2022 and Defendants’ counsel again confirmed that no action would be taken by Defendants
 8
 9   to implement the WFV Project for a minimum of 15-business days (3 full weeks) following
 9
10   delivery of a written notice from Defendants to the Tribe. Id.
10
11          Hoopa submits this Motion for Preliminary Injunction on the papers described above.
11
12   However, Hoopa requests an opportunity to present live testimony at a hearing on this motion if
12
13   the Court concludes that material facts are in dispute and that resolution of the conflict will
13
14   determine the outcome on the motion, or if relief would be denied based on the written evidence
14
15   and argument alone. Hoopa expects a hearing, if necessary, may take 2-3 hours.
15
16          Because counsel for both Plaintiff and Defendants are located out-of-state, Plaintiff
16
17   proposes that any hearing on this motion be conducted virtually or telephonically if possible.
17
18          DATED this 16th day of December, 2022.
18
19                                       MORISSET, SCHLOSSER, JOZWIAK & SOMERVILLE
19
20                                           /s/ Thane D. Somerville
20                                       Thane D. Somerville WSBA #31468
21                                       Thomas P. Schlosser WSBA #06276
21
22                                       MORISSET, SCHLOSSER, JOZWIAK & SOMERVILLE
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24                                       t.somerville@msaj.com
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25                                       Attorneys for Plaintiff Hoopa Valley Tribe
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27   PLAINTIFF’S NOTICE OF MOTION AND MOTION
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2
                                     CERTIFICATE OF SERVICE
33

44          I hereby certify that on December 16, 2022, I electronically filed the foregoing with the

55   Clerk of the Court using the CM/ECF system, which will send notification of such to the

66   attorneys of record.

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                                                         /s/ Thane D. Somerville
 8                                                       Thane D. Somerville
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27   PLAINTIFF’S NOTICE OF MOTION AND MOTION
     FOR PRELIMINARY INJUNCTION - 5
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